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         Exhibit 17 - Nanopure              LLC for quarter Profit and Loss Statement Page 1 of 1
Cash Basis                                          Profit & Loss
                                               January through March 2020
                         CASH                  Jan - Mar 20
        Income
            Income                                12,000.00
        Total Income                              12,000.00
    Gross Profit                                  12,000.00
        Expense
            Bank fee                                 621.08
            Consultant - Support                 100,462.38
            Interest Expense- CMG Loan            57,879.74
            Office / Warehouse Support             9,846.75
            Operations Management                232,000.00
            Parts / Manufacturing                 63,407.87
            Patent license                        40,000.00
            Rent                                   9,000.00
            Shipping- Postage                      1,411.90
            Travel / Transportation Auto           5,091.71
            Utilities                              3,139.26
        Total Expense                            522,860.69
Net Income                                      -510,860.69




                                                                                              Page 1 of 1
